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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,                       )
                                                 )
                Plaintiff,                       )
                                                 )
        vs.                                      )         Case No. 98-cr-40005-JPG
                                                 )
 LEE FLOYD KIBLER,                               )
                                                 )
                Defendant.                       )

                                 MEMORANDUM AND ORDER

        This matter comes before the Court on Defendant Lee Floyd Kibler’s pro se Motion for

 Leave to Appeal in Forma Pauperis (Doc. 247).

        A federal court may permit a party to proceed on appeal without full pre-payment of fees

 provided the party is indigent and the appeal is taken in good faith. 28 U.S.C. § 1915(a)(3)

 (2006); Fed. R. App. P. 24(a)(3). A frivolous appeal cannot be made in good faith. Lee v.

 Clinton, 209 F.3d 1025, 1026-27 (7th Cir. 2000). The test for determining if an appeal is in good

 faith or not frivolous is whether any of the legal points are reasonably arguable on their merits.

 Neitzke v. Williams, 490 U.S. 319, 325 (1989) (citing Anders v. California, 386 U.S. 738

 (1967)); Walker v. O’Brien, 216 F.3d 626, 632 (7th Cir. 2000).

        Here, Kibler has not fully filled out the application to proceed in forma pauperis, which

 also provides the boilerplate of the instant motion. Namely, Kibler has not explained “[t]he

 nature of [his] action, defense, or other proceeding or the issues [he] intend[s] to present on




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 appeal . . . .” (Doc. 247, p. 1). Of course, without this explanation, the Court is unable to

 determine whether Kibler’s appeal is non-frivolous or made in good faith.

        Morever, the Court notes that the underlying appeal represents Kibler’s fourth direct

 attempt to reverse his criminal conviction, in addition to the habeas petition brought under 28

 U.S.C. § 2255. See Kibler v. USA, Case No. 03-cv-4154-JPG (S.D. Ill. Sept. 4, 2003). This

 posture itself raises serious doubts as to the meritoriousness of the instant appeal and will likely

 prove preclusive if the motion to appeal in forma pauperis is re-filed.1

        For the foregoing reasons, the Court DENIES the instant motion (Doc. 247).

 IT IS SO ORDERED.
 DATED: June 14, 2010
                                                                        s/ J. Phil Gilbert
                                                                        J. PHIL GILBERT
                                                                        DISTRICT JUDGE




        1
         The Court makes no determination as to whether Kibler is indigent.


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